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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
PROTESTERS IN SUPPORT OF BLACK )
LIVES, et al.,                      )
                                    )                    No. 20–CV–06851
               Plaintiffs,          )
                                    )
                                    )                    Hon. Charles R. Norgle
CITY OF CHICAGO, et al.,            )                    Magistrate Jeffrey T. Gilbert
                                    )
                        Defendants. )


                                     JOINT STATUS REPORT

        Pursuant to this Court’s May 25, 2022 order (Dkt. No. 109), Plaintiffs, Defendant City of

Chicago (“City”), Superintendent David Brown, and the Individual Defendant Officers jointly

submit this Status Report regarding the Plaintiffs’ expedited discovery requests.

        On May 27, 2022, Plaintiffs filed their Third Amended Complaint, where they substituted 17

named defendants for previously referenced John Doe Officers. On May 27, 2022, Plaintiffs notified

the Court that they intend to file a Fourth Amended Complaint on or before July 15, 2022, should

any John Doe Officers relating to the protests that occurred in July and August 2020 be identified

through expedited discovery.

        On June 7, 2022, pursuant to this Court’s order, the parties met and conferred to discuss

certain additional preliminary discovery for statute of limitations purposes Plaintiffs still need to

pursue. Specifically, Plaintiffs identified the following two items in a June 6 email to Defendants:

        1. The identities of all Chicago Police officers who discharged pepper spray on August 15,
           2020.

        2. The identities of all Chicago Police officers who wore olive green Battle Dress Uniforms
           (whom Plaintiffs presume to be members of the SWAT team) on August 15, 2020, and
           which of those officers were equipped with pepper spray.

Plaintiffs agreed to make these requests in a formal Supplemental Interrogatory, which they will

issue today. The City stated that it could not commit to being able to provide responsive
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information in less than 30 days, but agreed to attempt to do so, if possible, and agreed to provide

Plaintiffs with a time estimate next week after conferring with CPD.

        Additionally, Plaintiffs advised that based on their ongoing review of BWC footage that has

been produced thus far, they anticipate having screenshots of John Doe officers that they will

request that the City attempt to identify, and they will also request that the City identify which

officers were assigned and wearing particular BWCs. Plaintiffs will provide this information to the

City as soon as possible.

        Finally, the parties discussed Plaintiffs’ previous request for the BWC footage referenced in

the Tactical Response Report bates stamped CPD472. The City is continuing to search for this

BWC footage and will provide Plaintiffs with an update next week.



        Dated: June 7, 2022                             Respectfully Submitted:

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